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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )              Case No. 8:06cr19
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )                     ORDER
LETICIA BARRIENTOS,                         )
                                            )
                    Defendant.              )


      Before the court is the defendant’s Motion to Continue Plea Hearing [93]. For good
cause shown, the motion will be granted and the Change of Plea Hearing will be
rescheduled.
      IT IS ORDERED:
      1. The Motion to Continue Plea Hearing [93] is granted. The hearing is continued
to July 12, 2006 at 10:00 a.m., before the undersigned, Magistrate Judge F. A. Gossett,
in Courtroom 6, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska.
      2. For this defendant, the time between July 6, 2006 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I) & (h)(8)(A)(B).
      3. Since this is a criminal case, the defendant must be present, unless excused by
the Court.
      Dated this 6th day of July 2006.

                                         BY THE COURT:


                                         s/ F. A. Gossett
                                         United States Magistrate Judge
